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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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EDWIN RAMIREZ,

                                   Plaintiff,                       INITIAL CONFERENCE
                                                                    ORDER
                 -against-                                          CV 24-1767(PKC)(SIL)

175-33 HORACE HARDING REALTY
CORP.,

                                    Defendant.
---------------------------------------------------------X
STEVEN I. LOCKE, Magistrate Judge:

        Conference Date: September 19th, 2024 at 10:00 AM in courtroom 820 of the Central
        Islip Courthouse. The parties are directed to confirm the date and time of this conference
        with each other.
        The above-captioned case has been referred to United States Magistrate Judge Steven I.
Locke for purposes of scheduling discovery, resolution of discovery disputes, settlement
conferences and any other purposes set forth at 28 U.S.C. §636(b)(1)(A). Lead counsel and/or
pro se parties must be present for an initial conference at the date and time indicated above.
Counsel and/or pro se parties are expected to be familiar with the Federal Rules of Civil
Procedure concerning discovery - see generally Fed. R. Civ. P. Rules 16 & 26-37, and the
Individual Rules of the undersigned, which are attached to this Order.
        Prior to this conference, the parties, with limited exceptions, must hold a discovery
planning conference pursuant to Fed. R. Civ. P. Rule 26(f), must provide automatic
disclosure pursuant to Rule 26(a)(1) unless this proceeding is exempted from such
disclosure pursuant to Rule 26(a)(1)(E), and must file a proposed discovery plan consistent
with the factors set forth in Rule 26(f)(1)-(4).
        The proposed discovery plan, which must be electronically filed under “Other
Documents” as a “Proposed Scheduling Order” no less than two days prior to the conference,
should reflect the general rule that discovery is to be completed within six to nine months of the
date of the initial conference, and should include any agreements the parties have reached
regarding discovery, including electronic discovery, as appropriate. It should also include
proposed deadlines for the service of and response to written discovery, completion of
depositions, motions to amend pleadings, including joinder of additional parties, all expert
discovery (including identification of experts and rebuttal experts and disclosure of expert
reports), completion of all discovery, filing of dispositive motions, and a pre-trial order/trial-
ready date.

Dated: August 9, 2024
       Central Islip, New York
                                                             SO ORDERED:

                                                              /s/ Steven I. Locke
                                                             STEVEN I. LOCKE
                                                             United States Magistrate Judge
